          Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 1 of 7



 1 Jon V. Swenson (SBN 233054)
   BAKER BOTTS LLP
 2 620 Hansen Way
   Palo Alto, CA 94304
 3
   Telephone: (650) 739-7500
 4 Facsimile: (650) 739-7699
   Email: jon.swenson@bakerbotts.com
 5
   John M. Taladay (pro hac vice)
 6 Joseph Ostoyich (pro hac vice)
   Erik T. Koons (pro hac vice)
 7 Charles M. Malaise (pro hac vice)
   BAKER BOTTS LLP
 8
   1299 Pennsylvania Ave., N.W.
 9 Washington, DC 20004-2400
   Telephone: (202) 639-7700
10 Facsimile: (202) 639-7890
   Email: john.taladay@bakerbotts.com
11 Email: joseph.ostoyich@bakerbotts.com
   Email: erik.koons@bakerbotts.com
12
   Email: charles.malaise@bakerbotts.com
13 Attorneys for Philips Electronics North America
   Corporation, Philips Taiwan Limited, and Philips do
14 Brasil Ltda.

15                                 UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
17

18                                                        ) Case No. 07-5944-SC
   In re: CATHODE RAY TUBE (CRT)                          )
19 ANTITRUST LITIGATION                                   ) MDL No. 1917
                                                          )
20                                                        ) DECLARATION OF TIFFANY B. GELOTT
                                                          ) IN SUPPORT OF DEFENDANTS PHILIPS
21 This Document Relates to:                              ) ELECTRONICS NORTH AMERICA
                                                          ) CORPORATION’S, PHILIPS TAIWAN
22 Electrograph Sys., Inc. v. Hitachi, Ltd.,              ) LIMITED’S, AND PHILIPS DO BRASIL
   No. 11-cv-01656;                                       ) LTDA.’S NOTICE OF MOTION AND
23                                                        ) MOTION FOR PARTIAL SUMMARY
                                                          ) JUDGMENT
24 Electrograph Sys., Inc. v. Technicolor SA,             )
   No. 13-cv-05724;                                       ) Date:          February 6, 2015
25                                                        ) Time:          10:00 a.m.
   Siegel v. Hitachi, Ltd.,                               ) Place:         Courtroom 1, 17th Floor
26 No. 11-cv-05502;                                       )
                                                          ) Hon. Samuel P. Conti
27 Siegel v. Technicolor SA,                              )
                                                          )
28 No. 13-cv-05261;                                       )
                                                          )
         DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
          Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 2 of 7



 1 Best Buy Co., Inc. v. Hitachi, Ltd.,                   )
   No. 11-cv-05513;                                       )
 2                                                        )
   Best Buy Co., Inc. v. Technicolor SA,                  )
 3                                                        )
   No. 13-cv-05264;                                       )
 4                                                        )
   Interbond Corp. of Am. v. Hitachi, Ltd.,               )
 5 No. 11-cv-06275;                                       )
                                                          )
 6 Interbond Corp. of Am. v. Technicolor SA,              )
   No. 13-cv-05727;                                       )
 7                                                        )
                                                          )
 8 Office Depot, Inc. v. Hitachi, Ltd.,                   )
   No. 11-cv-06276;                                       )
 9                                                        )
   Office Depot, Inc. v. Technicolor SA,                  )
10 No. 13-cv-05726;                                       )
                                                          )
11                                                        )
   CompuCom Sys., Inc. v. Hitachi, Ltd.,                  )
12 No. 11-cv-06396;                                       )
                                                          )
13 P.C. Richard & Son Long Island Corp. v.                )
   Hitachi, Ltd.,                                         )
14 No. 12-cv-02648;                                       )
                                                          )
15                                                        )
   P.C. Richard & Son Long Island Corp. v.                )
16 Technicolor SA,                                        )
   No. 13-cv-05725;                                       )
17                                                        )
   Schultze Agency Servs., LLC v. Hitachi, Ltd.,          )
18 No. 12-cv-02649;                                       )
                                                          )
19                                                        )
   Schultze Agency Servs., LLC v. Technicolor SA,         )
20 No. 13-cv-05668;                                       )
                                                          )
21 Tech Data Corp. v. Hitachi, Ltd.,                      )
   No. 13-cv-00157;                                       )
22                                                        )
                                                          )
23 Dell Inc. v. Hitachi Ltd.,                             )
   No. 13-cv-02171;                                       )
24                                                        )
   Sears, Roebuck and Co. and Kmart Corp. v.              )
25 Technicolor SA,                                        )
   No. 13-cv-05262                                        )
26                                                        )
                                                          )
27 Sears, Roebuck and Co. and Kmart Corp. v.              )
   Chunghwa Picture Tubes, Ltd.,                          )
28 No. 11-cv-05514                                        )
                                                          )
                                                         -1-
         DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
          Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 3 of 7



 1 Sharp Electronics Corp. v. Hitachi Ltd.,               )
   No. 13-cv-1173 SC                                      )
 2                                                        )
   Sharp Electronics Corp. v. Koninklijke Philips         )
 3                                                        )
   Elecs., N.V.,                                          )
 4 No. 13-cv-2776 SC                                      )
                                                          )
 5 ViewSonic Corp. v. Chunghwa Picture Tubes,             )
   Ltd.,                                                  )
 6 No. 14-cv-2510 SC                                      )
                                                          )
 7                                                        )
     All Indirect Purchaser Actions                       )
 8                                                        )
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         -2-
         DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
          Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 4 of 7



 1          I, Tiffany Gelott, declare and state as follows:

 2          1.     I am an attorney with Baker Botts LLP, attorneys for Philips Electronics North America

 3 Corporation (“PENAC”), Philips Taiwan Limited (“PTL”), and Philips do Brasil Ltda. (“PDBL”) in

 4 the above-captioned action. I am a member of the bar of the District of Columbia and have been

 5 admitted to practice before this Court in this matter pro hac vice. I make this declaration in support of

 6 PENAC’s, PTL’s, and PDBL’s Motion for Partial Summary Judgment. The information contained

 7 herein is based on my own personal knowledge, and if called as a witness I could, and would, testify

 8 competently that the matters set forth herein are true.

 9          2.     Attached hereto as Exhibit 1 is a true and correct copy of relevant portions of the Joint

10 Venture Agreement by and between LG Electronics Inc. and Koninklijke Philips Electronics N.V.

11 dated as of June 11, 2001, LGE0000054–161 (“JV Agreement”).

12          3.     Attached hereto as Exhibit 2 is a true and correct copy of relevant portions of the

13 Objections and Responses of Defendant Koninklijke Philips N.V. to Direct Action Plaintiffs’ First Set

14 of Requests for Admission (July 10, 2014) (“KPNV Responses to DAPs’ First RFAs”).

15          4.     Attached hereto as Exhibit 3 is a true and correct copy of relevant portions of the

16 Declaration of Franciscus Spaargaren (Apr. 10, 2014) (“Spaargaren Decl.”).

17          5.     Attached hereto as Exhibit 4 is a true and correct copy of relevant portions of the

18 Objections and Responses of Defendant Philips Electronics North America Corporation to Indirect

19 Purchaser Plaintiffs’ First Set of Interrogatories, (September 3, 2014).

20          6.     Attached hereto as Exhibit 5 is a true and correct copy of relevant portions of the

21 Defendant Philips Taiwan Limited to Indirect Purchaser Plaintiffs’ First Set of Interrogatories

22 (September 3, 2014).

23          7.     Attached hereto as Exhibit 6 is a true and correct copy of relevant portions of the

24 Defendant Philips do Brasil, Ltda. Objections and Responses to Indirect Purchaser Plaintiffs’ First Set

25 of Interrogatories (September 3, 2014).

26          8.     Attached hereto as Exhibit 7 is a true and correct copy of relevant portions of the

27 Deposition of Roger De Moor (July 31, and August 1, 2012) (“De Moor Dep.”).

28

                                                         -1-
         DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
         Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 5 of 7



 1        9.      Attached hereto as Exhibit 8 is a true and correct copy of relevant portions of the

 2 Deposition of Chih Chun Liu (February 19–21, 2013) (“Liu Dep.”).

 3        10.     Attached hereto as Exhibit 9 is a true and correct copy of relevant portions of the

 4 Deposition of In Hwan Song (SDI) (Dec. 12–14, 2012) (“Song Dep.”).

 5        11.     Attached hereto as Exhibit 10 is a true and correct copy of relevant portions of the

 6 Deposition of Kazuhiro Nishimaru (Toshiba) (June 26–28, 2013) (“Nishimaru Dep.”).

 7        12.     Attached hereto as Exhibit 11 is a true and correct copy of relevant portions of the

 8 Deposition of Yasuki Yamamoto (Toshiba) (July 1–3, 2013) (“Yamamoto Dep.”).

 9        13.     Attached hereto as Exhibit 12 is a true and correct copy of relevant portions of the

10 Deposition of Masaki Sanogawaya (MTPD) (July 31–Aug. 2, 2013) (“Sanogawaya Dep.”).

11        14.     Attached hereto as Exhibit 13 is a true and correct copy of relevant portions of the

12 Deposition of Ayuma Kinoshita (MTPD) (Feb. 5–6, 2013) (“Kinoshita Dep.”).

13        15.     Attached hereto as Exhibit 14 is a true and correct copy of relevant portions of the

14 Deposition of Shinichi Iwamoto (MTPD) (Feb. 7–8, 2013) (“Iwamoto Dep.”).

15        16.     Attached hereto as Exhibit 15 is a true and correct copy of relevant portions of the

16 Deposition of Nobuhiko Kobayashi (Hitachi) (May 15–17, 2013) (“Kobayashi Dep.”).

17        17.     Attached hereto as Exhibit 16 is a true and correct copy of PHLP-CRT-048011-012.

18        18.     Attached hereto as Exhibit 17 is a true and correct copy of PHLP-CRT-051463-467.

19        19.     Attached hereto as Exhibit 18 is a true and correct copy of PHLP-CRT-051470.

20        20.     Attached hereto as Exhibit 19 is a true and correct copy of FOX00015812.

21        21.     Attached hereto as Exhibit 20 is a true and correct copy of FOX00385164.

22        22.     Attached hereto as Exhibit 21 is a true and correct copy of HDP-CRT00026035-038.

23        23.     Attached hereto as Exhibit 22 is a true and correct copy of relevant portions of HEDUS-

24 CRT00001609-626.

25        24.     Attached hereto as Exhibit 23 is a true and correct copy of HEDUS-CRT00152790-791.

26        25.     Attached hereto as Exhibit 24 is a true and correct copy of relevant portions of HEDUS-

27 CRT00167890-909.

28

                                                        -2-
        DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                      JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
          Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 6 of 7



 1         26.     Attached hereto as Exhibit 25 is a true and correct copy of TAEC-CRT-00069443-444.

 2         27.     Attached hereto as Exhibit 26 is a true and correct copy of TAEC-CRT-00073598-601.

 3         28.     Attached hereto as Exhibit 27 is a true and correct copy of relevant portions of

 4 LG.Philips Displays Holding B.V. US $2,000,000,000 Senior Term Loan and Revolving Credit

 5 Facility Confidential Information Memorandum (May 2001) (“Information Memorandum”),

 6 T00019542-646.

 7         29.     Attached hereto as Exhibit 28 is a true and correct copy of relevant portions of the

 8 Deposition of Patrick Canavan (January 30–31, 2014) (“Canavan Dep.”).

 9         30.     Attached hereto as Exhibit 29 is a true and correct copy of relevant portions of the

10 Deposition of Jan de Lombaerde (Oct. 9, 2014) (“Lombaerde Oct. 9 Dep.”).

11         31.     Attached hereto as Exhibit 30 is a true and correct copy PHLP-CRT-033780-781.

12         32.     Attached hereto as Exhibit 31 is a true and correct copy of JLJ-00001890-892.

13         33.     Attached hereto as Exhibit 32 is a true and correct copy of PHLP-CRT-012618-619.

14         34.     Attached hereto as Exhibit 33 is a true and correct copy of PHLP-CRT-026877-879.

15         35.     Attached hereto as Exhibit 34 is a true and correct copy of relevant portions of the

16 Deposition of Wiebo Vaartjes (Dec. 18–19, 2013) (“Vaartjes Dep.”).

17         36.     Attached hereto as Exhibit 35 is a true and correct copy of relevant portions of the

18 Objections and Responses by Plaintiffs Dell Inc. and Dell Products L.P. to Defendant KPNV’s First

19 Set of Interrogatories, Supplemental Attachment A (September 11, 2014).

20         37.     Attached hereto as Exhibit 36 is a true and correct copy of relevant portions of the

21 Deposition of Kris Mortier (June 9-10, 2014).

22         38.     Attached hereto as Exhibit 37 is a true and correct copy of relevant portions of PHLP-

23 CRT-032285 (Q&A “From the Management Kickoff,” July 4, 2001).

24         39.     Attached hereto as Exhibit 38 is a true and correct copy of relevant portions of the

25 Deposition of Jan de Lombaerde (Oct. 10, 2014) (“Lombaerde Oct. 10 Dep.”).

26

27

28

                                                         -3-
         DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
         Case 4:07-cv-05944-JST Document 3027-1 Filed 11/07/14 Page 7 of 7



 1        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 2 knowledge and information.

 3        Executed on November 7, 2014 in Washington, D.C.

 4

 5                                                        /s/ Tiffany B. Gelott

 6                                                        Tiffany B. Gelott

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                        -4-
        DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PENAC’S, PTL’S, AND PDBL’S MOTION FOR PARTIAL SUMMARY
                                      JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917))
